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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



ROBYN KRA VITZ, et af.                                   Civil Action NO.8: 18-cv-0 1041-GJH
                 Plaintiffs,
         v.
                                                         Hon. George J. Hazel
U.S. DEPARTMENT           OF COMMERCE,         et
af.
                         Defendants.




 LA UNION DEL PUEBLO ENTERO, et af.                      Civil Action NO.8: 18-cv-0 1570-GJH
                 Plaintiffs,
         v.
                                                         Hon. George J. Hazel
WILBUR L. ROSS, in his official capacity
as U.S. Secretary of Commerce, et al.
                      Defendants.




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         Pursuant to the telephonic hearing held on July 3,2019,        the Court hereby issues the

following scheduling order:

    I.   Discovery regarding Plaintiffs'   equal protection and    S   1985 claims may commence as of

         July 5, 2019 and shall conclude by August 19,2019.

   2.    Written Discovery

              a) Plaintiffs may serve written discovery requests on the Department of Commerce

                 and Department of Justice.

              b) Defendants shall serve objections to any such written discovery requests and any

                 associated privilege log within seven days of service, and shall produce all

                 responsive, non-privileged   documents and information within 20 days of service.
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3.   Depositions

        a)   Plaintiffs may take up to five depositions of Department of Commerce and/or

             Department of Justice witnesses ("Defendant     Witnesses").

        b) Plaintiffs must obtain leave of Court to take more than five depositions      of

             Defendant Witnesses, and the Court shall grant leave upon a showing of good

             cause.

        c) Defendants reserve their right to object to any specific request for the deposition

             of a Defendant Witness, but must object within 24 hours of receiving a specific

             deposition request.

4.   Plaintiffs may issue third party subpoenas for documents and depositions,     subject to the

     resolution of any objections by the person or entity subpoenaed.

5.   Discovery Motions

         a) To expedite resolution of discovery disputes, any discovery motions shall be

             presented to the Court in the form of a letter-brief not to exceed three pages in

             length. Oppositions   and replies shall also be submitted in the form of a letter-

             brief not to exceed three pages in length.

         b) Opposition   letter-briefs shall be due within 2 days of service of the opening letter-

             brief and replies shall be due within I day of service of the opposition   letter-brief.

         c) The Court shall endeavor to resolve promptly any discovery motion.

6. An evidentiary hearing on Plaintiffs'    Rule 60(b) Motion, including testimony from

     witnesses, ifany, shall be held on Tuesday, September 3,2019 and Wednesday,

     September 4,2019.




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   7. The parties reserve the right to seek modification   of this Scheduling Order and the

      allowable scope of discovery based on any ongoing developments,         including but not

       limited to any specific efforts by the federal government   to inquire about citizenship

      status as part of the 2020 decennial census.




The above schedule is HEREBY ENTERED this ~ay                of July, 2019.



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                                                     ,
                                                              The Honorable GEORGE J. HAZEL
                                                                      United States District Judge




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